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                                   12029



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                   LONDON

 NEW LONDON TOBACCO MARKET,                  )
 INC. and FIVEMILE ENERGY, LLC,              )
                                             )      Civil No. 6:12-cv-00091-GFVT-HAI
       Plaintiffs,                           )
                                             )
 v.                                          )                 JUDGMENT
                                             )
 KENTUCKY FUEL CORPORATION and               )
 JAMES C. JUSTICE COMPANIES, INC.,           )

       Defendants.
                                      *** *** *** ***

      In accordance with the Order entered contemporaneously herewith, and pursuant to Rule

58 of the Federal Rules of Civil Procedure, it is ORDERED AND ADJUDGED as follows:

      1.     Judgment is ENTERED in favor of the Plaintiffs;

      2.     This is a FINAL and APPEALABLE ORDER, there is no just cause for delay;

and

      3.     All issues having been resolved, this case is STRICKEN from the active docket.

      This 24th day of April, 2020.
